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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION




IN RE:                                          Case Nos.   CR112-185, USA v. Hawkins
                                                            CV114-130, USA v. Hawkins
LEAVE OF ABSENCE REQUEST                                    CR115-030, USAv. Martinez
                                                            CR115-100, USAv. Osborn, et al
NANCY C. GREENWOOD                                          CR115-108, USAv. Riley, et al
March 8 through 11, 2016 and
April 29 through May 2, 2016




                                           ORDER

         Nancy C. Greenwood having made application to the Court for a leave ofabsence, and
it being evident from the application thattheprovisions ofLocal Rule 83.9 have been complied
with, and no objections having been received;
         IT IS HEREBY ORDERED THAT Nancy C. Greenwood be granted leave of absence

for the following periods: March 8, 2016 through March 11, 2016 and April 29, 2016
through May 2, 2016.

         This J_ day ofC JeJr^nzy .20l6.



                                            HONOR^LE J. RANDAL:
                                            United States District Judge
                                            Southern District of Georgia
